CM/ECF-GA Northern District Court                                 https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?77380401200020...
                      Case 1:18-cr-00309-LMM-LTW Document 31 Filed 11/01/18 Page 1 of 2




                                                1:18-cr-00309-LMM-LTW
                                                      USA v. Detling
                                                Honorable Linda T. Walker


                                Minute Sheet for proceedings held In Open Court on 11/01/2018.


              TIME COURT COMMENCED: 10:46 A.M.
              TIME COURT CONCLUDED: 10:50 A.M.                    TAPE NUMBER: FTRGOLD
              TIME IN COURT: 00:04                                DEPUTY CLERK: Sonya Lee-Coggins
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Chalmer Detling, II NOT Present at proceedings
         ATTORNEY(S)                John Ghose representing USA
         PRESENT:                   Molly Parmer representing Chalmer Detling
                                    Alex Sistla representing USA
         PROCEEDING
                                    Pretrial Conference;
         CATEGORY:
         MOTIONS RULED              DFT#1-[26]Motion to Dismiss/Lack of Jurisdiction TAKEN UNDER
         ON:                        ADVISEMENT; The Government shall have through 12/14/2018 in
                                    which to respond to this motion. The defendant shall have through
                                    1/11/2019 in which to file a reply.
                                    DFT#1-[27]Motion to Dismiss Indictment TAKEN UNDER
                                    ADVISEMENT; The Government shall have through 12/14/2018 in
                                    which to respond to this motion. The defendant shall have through
                                    1/11/2019 in which to file a reply.
                                    DFT#1-[28]Motion for Bill of Particulars TAKEN UNDER
                                    ADVISEMENT; The Government shall have through 12/14/2018 in
                                    which to respond to this motion. The defendant shall have through
                                    1/11/2019 in which to file a reply.
                                    DFT#1-[29]Motion to Strike TAKEN UNDER ADVISEMENT; The
                                    Government shall have through 12/14/2018 in which to respond to this
                                    motion. The defendant shall have through 1/11/2019 in which to file a
                                    reply.
                                    DFT#1-[30]Motion to Allow Participation in Voir Dire TAKEN UNDER
                                    ADVISEMENT; The Government shall have through 12/14/2018 in
                                    which to respond to this motion. The defendant shall have through
                                    1/11/2019 in which to file a reply.



1 of 2                                                                                                            11/5/2018 10:51 AM
CM/ECF-GA Northern District Court                                   https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?77380401200020...
                      Case 1:18-cr-00309-LMM-LTW Document 31 Filed 11/01/18 Page 2 of 2

         MINUTE TEXT:               Parties appeared before the court for a pretrial conference. The court ruled
                                    on the pending motions and set a briefing schedule as outlined herein.
                                    Government informed the court that the indictment may be superseded.




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